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     OpenAI Holdings, LLC, OpenAI Startup Fund Management, LLC,
14   OpenAI Startup Fund GP I, L.L.C., OpenAI Startup Fund I, L.P.,
     OpenAI Startup Fund SPV GP I, L.L.C., OpenAI Startup Fund SPV GP II, L.L.C.,
15   OpenAI Startup Fund SPV GP III, L.L.C., OpenAI Startup Fund SPV GP IV, L.L.C.,
     OpenAI Startup Fund SPV I, L.P., OpenAI Startup Fund SPV II, L.P.,
16   OpenAI Startup Fund SPV III, L.P., OpenAI Startup Fund SPV IV, L.P.,
     Aestas Management Company, LLC, and Aestas LLC
17

18                                UNITED STATES DISTRICT COURT
19                             NORTHERN DISTRICT OF CALIFORNIA
20                                       OAKLAND DIVISION
21
     ELON MUSK, et al.,                                  Case No. 4:24-cv-04722-YGR
22
                        Plaintiffs,                      OPENAI DEFENDANTS’ REQUEST
23                                                       FOR JUDICIAL NOTICE IN SUPPORT
             v.                                          OF MOTION TO DISMISS FIRST
24                                                       AMENDED COMPLAINT
     SAMUEL ALTMAN, et al.,
25                                                       Date: May 28, 2025
                        Defendants.                      Time: 10:00 a.m.
26                                                       Courtroom: 1 – 4th Floor
                                                         Judge: Hon. Yvonne Gonzalez Rogers
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        OPENAI DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE ISO MOTION TO DISMISS FIRST AMENDED COMPLAINT
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 1                                            INTRODUCTION
 2           Defendants Samuel Altman, Gregory Brockman, OpenAI, Inc., OpenAI L.P., OpenAI,
 3   L.L.C., OpenAI GP, L.L.C., OpenAI OpCo, LLC, OpenAI Global, LLC, OAI Corporation, LLC,
 4   OpenAI Holdings, LLC, OpenAI Startup Fund Management, LLC, OpenAI Startup Fund GP I,
 5   L.L.C., OpenAI Startup Fund I, L.P., OpenAI Startup Fund SPV GP I, L.L.C., OpenAI Startup
 6   Fund SPV GP II, L.L.C., OpenAI Startup Fund SPV GP III, L.L.C., OpenAI Startup Fund SPV GP
 7   IV, L.L.C., OpenAI Startup Fund SPV I, L.P., OpenAI Startup Fund SPV II, L.P., OpenAI Startup
 8   Fund SPV III, L.P., OpenAI Startup Fund SPV IV, L.P., Aestas Management Company, LLC, and
 9   Aestas LLC (the “OpenAI Defendants”) respectfully request that the Court take judicial notice of
10   the following documents attached to the accompanying Declaration of David J. Wiener in Support
11   of the OpenAI Defendants’ Motion to Dismiss (the “Wiener Declaration”) pursuant to Federal Rule
12   of Evidence 201:
13           1.      A true and correct copy of the complaint filed on February 29, 2024 in the case
14                   captioned Musk v. Altman, et al., Case No. CGC-24-612746 (S.F. Sup. Ct.),
15                   attached as Ex. A to the Wiener Declaration;
16           2.      A true and correct copy of the request for dismissal filed on June 11, 2024 in the
17                   case captioned Musk v. Altman, et al., Case No. CGC-24-612746
18                   (S.F. Sup. Ct.), attached as Ex. B to the Wiener Declaration; and
19           3.      A true and correct copy of the opposition to demurrer filed on April 10, 2024 in
20                   the case captioned Musk v. Altman, et al., Case No. CGC-24-612746
21                   (S.F. Sup. Ct.), attached as Ex. C to the Wiener Declaration.
22                                               ARGUMENT
23           Under the Federal Rules of Evidence, a district court may take judicial notice of matters
24   that are either (1) “generally known within the trial court’s territorial jurisdiction” or (2) capable of
25   accurate and ready determination by resort to “sources whose accuracy cannot reasonably be
26   questioned.” See Fed. R. Evid. 201(b)(1)-(2).
27           The Court may take judicial notice of the complaint, request for dismissal, and opposition
28   to demurrer filed in Musk v. Altman (Exhibits A, B, and C) under this governing standard. Each of


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 1   these documents is a publicly available court filing in a related legal proceeding. It is well

 2   established that courts “may take judicial notice of court filings” in other actions. See, e.g., Reyn’s

 3   Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006) (taking judicial notice

 4   of briefs, a hearing transcript, and “several other pleadings, memoranda, [and] expert reports” filed

 5   in related litigation); Burbank-Glendale-Pasadena Airport Auth. v. City of Burbank, 136 F.3d 1360,

 6   1364 (9th Cir. 1998) (taking “judicial notice of pleadings filed in a related state court action”); In

 7   re Icenhower, 755 F.3d 1130, 1142 (9th Cir. 2014) (taking judicial notice of court filings from

 8   bankruptcy proceeding).

 9          Musk’s complaint in California Superior Court (Ex. A), his voluntary request for dismissal

10   of the complaint (Ex. B), and his opposition to defendants’ demurrer to the complaint (Ex. C) all

11   furnish relevant context for the claims Plaintiffs have asserted in this action, many of which bear

12   substantial legal and factual similarity to the claims Musk asserted in the earlier state court action.

13   Because these prior filings are publicly available and not reasonably subject to dispute, the Court

14   can take notice of them in considering the OpenAI Defendants’ concurrently-filed motion to

15   dismiss.

16          For the foregoing reasons, the OpenAI Defendants respectfully request that the Court take

17   judicial notice of Exhibits A-C to the Wiener Declaration.

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        OPENAI DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE ISO MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                        CASE NO. 4:24-CV-04722-YGR
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                                                      OpenAI Startup Fund GP I, L.L.C., OpenAI
18                                                    Startup Fund I, L.P., OpenAI Startup Fund SPV
                                                      GP I, L.L.C., OpenAI Startup Fund SPV GP II,
19                                                    L.L.C., OpenAI Startup Fund SPV GP III,
                                                      L.L.C., OpenAI Startup Fund SPV GP IV,
20                                                    L.L.C., OpenAI Startup Fund SPV I, L.P.,
                                                      OpenAI Startup Fund SPV II, L.P., OpenAI
21                                                    Startup Fund SPV III, L.P., OpenAI Startup
                                                      Fund SPV IV, L.P., Aestas Management
22                                                    Company, LLC, and Aestas LLC
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        OPENAI DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE ISO MOTION TO DISMISS FIRST AMENDED COMPLAINT
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